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 4                           IN THE UNITED STATES DISTRICT COURT
 5                             EASTERN DISTRICT OF CALIFORNIA
 6
                                            )
 7   UNITED STATES OF AMERICA,              ) CASE NO. 2:07-CR-00314-KJM
                                            )
 8                            Plaintiff,    )
                                            )
 9                      v.                  ) ORDER
                                            )
10   PETRA PRECIADO MORALES,                )
                                            )
11                            Defendant.    )
                                            )
12                                          )
13

14        The United States’ Motion to Dismiss the Indictment only as it
15   relates to Petra Preciado Morales is GRANTED.
16   Dated:     February 23, 2015
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                                              UNITED STATES DISTRICT JUDGE
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